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10

11   Attorneys for Plaintiffs Brian Horowitz and
     Creative Outdoor Distributors USA, Inc.
12

13                       UNITED STATES DISTRICT COURT
14
                        CENTRAL DISTRICT OF CALIFORNIA
15
                                 SANTA ANA DIVISION
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17   CREATIVE OUTDOOR                           Case No.: 8:17-cv-00432 AG (DFMx)
18   DISTRIBUTORS USA, INC. AND
     BRIAN HOROWITZ,
19                                              PLAINTIFFS’ NOTICE OF
                 Plaintiffs,                    MOTION FOR SANCTIONS
20
                                                AGAINST YISHUN CHEN AND
21   vs.                                        DAVID LIN
22
     YISHUN CHEN AND ZHAOSHENG
23   CHEN,
24
                 Defendants
25

26
                                              Hearing Date:       June 4, 2019
                                               Time:              10:00 a.m.
27                                              Courtroom:        6B
28
     PLAINTIFFS’ NOTICE OF MOTION FOR SANCTIONS AGAINST YISHUN CHEN AND DAVID LIN - 1
 Case 8:17-cv-00432-AG-DFM Document 144 Filed 05/01/19 Page 2 of 5 Page ID #:2510



 1         TO THE COURT, ALL PARTIES AND ATTORNEYS OF RECORD:
 2
           PLEASE TAKE NOTICE THAT on June 4, 2019, or soon thereafter as
 3

 4   may be heard, before the Honorable Douglas F. McCormick in Courtroom 6B of
 5
     the above-entitled court, located at 411 West 4th Street, Santa Ana, California
 6

 7
     92701, counsel for Plaintiffs Creative Outdoor Distributors USA, Inc. and Brian

 8   Horowitz by their attorneys, will move, pursuant to Fed. R. Civ. P. 30(d)(2) and
 9
     37(b)(2)(A) and this Court’s inherent authority, for an order sanctioning Yishun
10

11   Chen and his attorney David Lin for misconduct that impeded, delayed, and
12
     frustrated the fair deposition examination of Yishun Chen resulting in severe
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14
     prejudice to Plaintiffs.

15         Plaintiffs’ motion is based on this Notice of Motion, as well as their
16
     accompanying Plaintiffs/Counter-Defendants and Defendants/Counter-Claimants’
17

18   Stipulation to Local Rule 37-2 Re Plaintiffs/Counter-Defendants’ Motion for
19
     Sanctions Against Yishun Chen and David Lin for Improper Coaching and Off-
20

21
     the-record Conferences During the November 8-9, 2018 Depositions, which

22   includes Movants and Respondents’ Contentions and Points and Authorities, the
23
     pleadings and papers on file in this action, and such other further argument and
24

25   evidences as the Court may consider.
26
           This Motion is made following the conference of counsel pursuant to L.R. 7-
27

28
     3 which took place on January 14, 2019.
     PLAINTIFFS’ NOTICE OF MOTION FOR SANCTIONS AGAINST YISHUN CHEN AND DAVID LIN - 2
 Case 8:17-cv-00432-AG-DFM Document 144 Filed 05/01/19 Page 3 of 5 Page ID #:2511



 1   Dated: May 1, 2019       Respectively Submitted,
 2
                              CREATIVE OUTDOOR DISTRIBUTORS USA, INC.
 3
                              and BRIAN HOROWITZ,
 4                            Plaintiffs
 5
                        By:   /s/ Darrell W. Gibby
 6                            Darrell W. Gibby, Attorney for Plaintiffs
 7
                              /s/Marc C. Forsythe
 8                            Marc C. Forsythe, Attorney for Plaintiffs
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     PLAINTIFFS’ NOTICE OF MOTION FOR SANCTIONS AGAINST YISHUN CHEN AND DAVID LIN - 3
 Case 8:17-cv-00432-AG-DFM Document 144 Filed 05/01/19 Page 4 of 5 Page ID #:2512



 1
                              PROOF OF SERVICE OF DOCUMENT
 2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
 3   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612

 4   A true and correct copy of the foregoing document entitled (specify): PLAINTIFFS’ NOTICE OF MOTION
     FOR SANCTIONS AGAINST YISHUN CHEN AND DAVID LIN will be served or was served (a) on the
 5   judge in chambers in the form and manner required by Local Rules in the manner stated below:

 6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
     controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 7   hyperlink to the document. On (date) May 1, 2019, I checked the CM/ECF docket for this bankruptcy case
     or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
 8   to receive NEF transmission at the email addresses stated below:

 9
                                                           Service information continued on attached page
10
     2. SERVED BY UNITED STATES MAIL:
11   On (date) May 1, 2019, I served the following persons and/or entities at the last known addresses in this
     bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
12   in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
     constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
13   document is filed.

14
                                                           Service information continued on attached page
15
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
16   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
     (date) May 1, 2019, I served the following persons and/or entities by personal delivery, overnight mail
17   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
     email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
18   mail to, the judge will be completed no later than 24 hours after the document is filed.

19          The Honorable Douglas F. McCormick, USDC, 411 West Fourth Street, Santa Ana, CA 92701

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                                                           Service information continued on attached page
21
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and
22   correct.

23    May 1, 2019              Susan C. Stein                              /s/Susan C. Stein
      Date                     Printed Name                                Signature
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     PLAINTIFFS’ NOTICE OF MOTION FOR SANCTIONS AGAINST YISHUN CHEN AND DAVID LIN - 4
 Case 8:17-cv-00432-AG-DFM Document 144 Filed 05/01/19 Page 5 of 5 Page ID #:2513



 1
     Mailing Information for a Case 8:17-cv-00432-AG-DFM Brain Horowitz et al v. Yishun Chen et al
 2
     Electronic Mail Notice List
 3
     The following are those who are currently on the list to receive e-mail notices for this case.
 4
            Peter Joseph Diedrich
 5           p.diedrich@mpglaw.com,d.dutra@mpglaw.com
            Marc C Forsythe
 6
             mforsythe@goeforlaw.com,kmurphy@goeforlaw.com
 7          Darrell W Gibby
             Dgibby417@gmail.com
 8          David S Lin
             dlinlaw@sbcglobal.net,dlinlawoffice@att.net
 9          MacSports Inc. d/b/a/ Mac Sports
             p.diedrich@mpglaw.com
10          Tofasco of America, Inc.
             p.diedrich@mpglaw.com
11
            Gary F Wang
12           garywang@gfwanglaw.com,gfwlaw@yahoo.com,gfwang@gmail.com

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     PLAINTIFFS’ NOTICE OF MOTION FOR SANCTIONS AGAINST YISHUN CHEN AND DAVID LIN - 5
